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                                   United States District Court
                                  Southern District of New York

Virginia L. Giuffre,

                 Plaintiff,                    Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

             Defendant.
______________________________/

       REDACTED DECLARATION OF SIGRID S. McCAWLEY IN SUPPORT OF
      PLAINTIFF VIRGINIA GIUFFRE’S REPLY IN SUPPORT OF MOTION FOR
                         FORENSIC EXAMINATION


         I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

         1.      I am a partner with the law firm of Boies, Schiller & Flexner LLP and duly

 licensed to practice in Florida and before this Court pursuant to this Court’s September 29, 2015

 Order granting my Application to Appear Pro Hac Vice.

         2.      I respectfully submit this Declaration in support of Plaintiff Virginia Giuffre’s

 Reply In Support of Motion For Forensic Examination.

         3.      Attached hereto as Exhibit 1, is a true and correct copy of Letter dated April 11,

 2016 from Laura Menninger, Counsel for Defendant.

         4.      Attached hereto as Exhibit 2, is a true and correct copy of Message Pads

 messages.
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       5.      Attached hereto as Exhibit 3, is a true and correct copy of Defendant Ghislaine

Maxwell’s Responses and Objections to Plaintiff’s First Request For Production of Documents.

       6.      Attached hereto as Exhibit 4, is a true and correct copy of



       7.      Attached hereto as Exhibit 5, is a true and correct copy of correspondence dated

April 7, 1026 from Sigrid McCawley, Counsel for Plaintiff.

       8.      Attached hereto as Exhibit 6, is a true and correct copy of correspondence dated

March 10, 2016 from Sigrid McCawley, Counsel for Plaintiff.

       9.      Attached hereto as Exhibit 7, is a true and correct copy of an excerpt from the

Deposition of Ghislaine Maxwell taken April 22, 2016.

       10.     Attached hereto as Exhibit 8, is a true and correct copy of an excerpt from the

Deposition of Ghislaine Maxwell taken April 22, 2016.


        I declare under penalty of perjury that the foregoing is true and correct.



                                                      /s/ Sigrid S. McCawley ____
                                                      Sigrid S. McCawley, Esq.
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Dated: April 25, 2016.

                                    Respectfully Submitted,

                                    BOIES, SCHILLER & FLEXNER LLP

                                 By: /s/ Sigrid McCawley
                                      Sigrid McCawley (Pro Hac Vice)
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 25, 2016, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served this day on the individuals identified below via transmission of Notices

of Electronic Filing generated by CM/ECF.


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                                                        /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley, Esq.
